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FILED

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA NOV 1 8 2019

Mark C. McCartt, G| k
UNITED STATE SOUR
TED S OF AMERICA, U.S. DISTRICT COURT

Plaintiff,
Ve Case No. 09-CR-043

LINDSEY KENT SPRINGER,

Defendant.

MOTION TO STRIKE OR INVALIDATE
RESPONSE IN OPPOSITION TO DEFENDANT'S
MOTION FOR RELEASE UNDER THE FIRST STEP ACT

By: Lindsey Kent Springer
Reg. # 02580-063
Federal Transfer Center
P.O. Box 889801
Oklahoma City, Oklahoma 73189

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1. O'Reilly has no current appointment as an SAUSA for the NDOK, has
taken no oath of office for an SAUSA in the NDOK since his expired
on January 5, 2010, or January 5, 2015, and has never received a
commission from the President to the office of SAUSA for the NDOK....9

(a) O'Reilly has never been commissioned by any President to the
Office of SAUSA for the: NDOR oc0c0eceewe ewis 0 seine we sreieiesies 6 6 2 cee ee 9

(b) O'Reilly has never been commissioned by any President to the
Office of Trial Attorney for the Tax DiviSion.........20e2eeeees 10

(c) O'Reilly's January 5, 2009 oath of office expired on January 5,
2012, or again on January 5, 2015, and he never took an oath
of office as a Trial Attorney for the Tax Division.............. 10

(d) O'Reilly's January 5, 2009 appointment expired on January 5,
2012, or again on January 5, 2015, when his January 5, 2009
appointment was not extended under the conditions of the app-
ointment and the January 4,.2011 extension by Woodward, or the
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(e) O'Reilly's January 3, 2018 letter from Shores, or his March
26, 2018 revised extension letter from Shores, are invalid
and void where O'Reilly had no January 5, 2009 appointment to
to extend due to the extension expiring on January 5, 2012,

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,

Plaintiff, .
Vv. Case No. 09-CR-043-F
LINDSEY KENT SPRINGER,

Defendant.

MOTION TO STRIKE OR INVALIDATE
RESPONSE IN OPPOSITION TO DEFENDANT'S
MOTION FOR RELEASE UNDER THE FIRST STEP ACT

Lindsey Kent Springer ("Springer") moves this Court for an Order striking
or invalidating as not being signed by a person authorized to speak on behalf
of the United States of America in this matter. Charles A. O'Reilly's January
4, 2011 extension ("O'Reilly") from Thomas Scott Woodward, as the United States
Attorney for the Northern District of Oklahoma ("USAO-NDOK"), to the inferior
office of the United States in the Title of Special Assistant United States
Attorney ("SAUSA"), clearly says the extension is "not to exceed January 5, 2012."
See Exhibit 19("Your appointment...is hereby extended effective the date of
this letter, not to exceed January 5, 2012. This extension is subject to the
conditions set forth in the original appointment letter."). As Springer rec-

ently discovered in the Case of In Re United States Attorneys and Clerks,07-

MC-00005-CVE, Docket Entry # 125 is a letter dated January 10, 2012, 5-days
after the January 4, 2011 extension expired. See Exhibit 20("January 10, 2012").
On April 10, 2018, without explaining where O'Reilly's January 5, 2009 app-
ointment letter could be located for public access, O'Reilly provided this
Court with a copy of a January 5, 2009 appointment letter from David E.
O'Meilia ("O'Meilia") naming O'Reilly as an SAUSA to the NDOK which that
original appointment, as a condition of the appointment, "expires on January

5, 2010, unless extended." See Exhibit 21, p.1.
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BACKGROUND

O'Reilly has represented to this Court that he is and has always been
a properly appointed SAUSA for the NDOK since at least January 5, 2009. He
signed the Court Ordered response to Springer's Motion for Release under the
First Step Act.dated October 29, 2019.

On July 29, 2015, in response to Springer's Freedom of Information Act
("FOIA") request naming O'Reilly, the Executive Office for United States
Attorneys ("EOUSA") located an Appointment Affidavit (herein-after referred
to as "Oath of Office") dated January 5, 2009 with O'Reilly's name on it and
stating the "position to which appointed" was the inferior office of SAUSA
for the "USAO/ND-OK" with "his place of employment" as "Tulsa, Oklahoma."

See Exhibit 22, p. 2. This was after more than a year had passed without

EOUSA, and searching the USAO-NDOK for any records of appointment for O'Reilly
to the office of SAUSA, being able to locate any record whatsoever naming

O'Reilly to such a position. See Exhibit 23, p.4("Initially,.I was unable to

locate any information related to...Charles A. O'Reilly...The absence of
information in the eOPF and GAL indicated to me that the individuals were not
employed by the USAO/NDOK at the time of the search."). These words were
declared under the Penalty of Perjury by Linda M. Richardson ("Richardson")
as an employee of the Department of Justice and EOUSA. Id. Ms. Richardson
declared she located O'Reilly's Oath of Office naming O'Reilly dated January
5, 2009 on July 23, 2015 after contacting the "USAO/NDOK staff." Id.

Ms. Richardson declared she was told by someone in the USAO/NDOK that,
at that time, O'Reilly "was appointed by the U.S. Attorney for the NDOK for a
limited purpose not to exceed January 5, 2016." Id. Ms. Richardson refers to
the location of O'Reilly's January 5, 2009 Oath as in the "SAUSA Program." Id.

On April 10, 2018, in response to Springer's Application to set aside
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the Judgment entered August 22, 2014, in Springer's proceedings under 28
U.S.C. § 2255, O'Reilly provided Three records and argument as to where such
records of his appointment would not be found. The first record O'Reilly
provided is a letter dated December 23, 2008 by Ronald A. Cimino ("RAC")
authorizing O'Reilly to conduct "Tax Division...business" anywhere within the
United States of America under 28 U.S.C. § 515(a) and 28 CFR § 0.13(a). See

Exhibit 24, p.12. The second record O'Reilly provided to Springer and this

Court on April 10, 2018 is a letter signed by O'Meilia dated January 5, 2009
naming O'Reilly to the inferior office of SAUSA for the NDOK for a 1-year term

not to exceed January 5, 2010. See Exhibit 24, p.14. This letter is the same

as Exhibit 21 attached herein but without the docket heading from 07-MC-00005-
CVE. Again, the terms of the appointment has a condition that the appointment
expires on January 5, 2010 "unless extended." O'Meilia's January 5, 2009
appointment letter also references that O'Reilly has an "existing appointment"
and directed O'Reilly to "return to Personnel Staff within 14 days the enclosed

Appointment Affidavit containing the oath of office." See Exhibit 21, p.2; and

also Exhibit 24, p.15. The third letter provided by O'Reilly on April 10,

2018, is a letter dated January 4, 2010 signed by Woodward as "Acting" United
States Attorney ("USA") clearly extending the January 5, 2009 term for O'Reilly

as an SAUSA for the NDOK through January 5, 2011. See Exhibit 24, p.17. The

January 4, 2010 letter, with the docket information at the top is also prov-
ided herein as Exhibit 25(in 07-MC-00005-CVE, Doc. 74) (O'Reilly's version
provided on April 10, 2018 leaves that tid bit of information off his letters).
It must not be forgotten why were are here from the words of O'Reilly
on October 24, 2013 during Springer's § 2255 proceedings:
"By letter dated January 5, 2009, United States Attorney David E. O'Meilia

appointed the undersigned [that is O'Reilly] as a Special Assistant United
States Attorney for the Northern District of Oklahoma. The United States

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Attorneys [this phrase was misleading because, as O'Reilly later admits
on April 10, 2018, Woodward was "Acting" USA and then Woodward was USA
until Danny C. Williams, Sr. was appointed in August, 2012] for the North-
ern District of Oklahoma [again, only Woodward until Williams] have ext-
ended the undersigned's appoitment as a Special Assistant United States
Attorney by letter dated January 4, 2010, January 4, 2011, January 10,
2012, and most recently by United States Attorney Danny C. Williams, Sr.
in a letter dated December 19, 2012. Mr. Springer's rhetoric does not
change the fact that the undersigned has been and remains authorized to
represent the United States of America."

See Exhibit 26, p.2. (Doc. 524 in 09-CR-043).

On or about July 9, 2019, it was discovered and then made known to Spr-

inger shortly thereafter, of In Re United States Attorneys and Clerks, 07-Mc-

00005-CVE, and that the various records Springer has been seeking since 2009
to present were filed therein involving some of O'Reilly's letters appointing
and extending his January 5, 2009 appointment from O'Meilia. See Exhibit 27
(is the complete docket as of July 9, 2019 in 07-MC-00005-CVE).

This docket provides some revelations that O'Reilly was trying to hide
from Springer and this Court. First, the January 5, 2009 letter was not dock-
eted until January 16, 2009, the day after Springer met with O'Reilly in the
USAO in Tulsa and became part of the charges against Springer in Count One.
That is material because Springer requested to see O'Reilly's authorization to
be in the NDOK prior to the tape recording of that interview beginning. O'Rei-
lly was prevented from asking any questions because he could not provide any

record of his appointment to Springer or anyone else in that room. This is why

Special Agent Brian Shern is the only person asking questions during that inter-
view. See Exhibit 27, p.4(showing the January 5, 2009 letter docketed on Jan-
uary 16, 2009, Doc. 44),

This Court denied Springer's Motion to Dismiss on February 22, 2010. See

Doc. 312(Denying Springer's Motion to Dismiss on the appointments issues). This
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same day, February 22, 2010, is the day David Derrington ("Derrington") filed
Woodward's January 4, 2010 extension letter to O'Reilly as an SAUSA. See Exh-

ibit 27, p. 5(Doc. 74 in 07-MC-00005-CVE). This docketing of the January 4,

2010 extension letter was 49 days after it was facially issued(if it was).

Compare Exhibit 24, p.6("Acting United States Attorney Thomas Scott Woodward

signed O'Reilly's initial extension appointment on January 4, 2010.")
Even more revealing is the March 5, 2010 docketing in 07-MC-—00005-CVE
of Woodward's Oath of Office as an Assistant United States Attorney signed

on September 23, 1990. Yep, 1990. See Exhibit 27, p.5(Doc. 76 in 07-MC-—00005-

CVE). See also Exhibit 28(Woodward's docketed 1990 oath of office). So, Wood-
ward and O'Reilly get this Court's February 22, 2010 order, Docket 312 in
09-CR-043, and only then does the January 4, 2010 extension by Woodward and
Woodward's Oath of office as an AUSA appear in 07-MC-00005-CVE. That is not
coincidence. Thirteen days after this Court decided Woodward was authorized
as Acting USA, and then USA, Woodward had the 1990 Oath filed in 07-MC-00005-

CVE. This simply cannot be made up. See Exhibit 29, p. 1(n.1)("On January 21,

2010, Thomas Scott Woodward was sworn in as the Attorney General's appointed
United States Attorney for the Northern District of Oklahoma.") (Doc. 292, p.

1, n.1, in 09-CR-043). Compare Exhibit 30, p.2("On January 25, 2010, the

Attorney General appointed Woodward as United States Attorney under 28 U.S.C.
§ 546(a).").

The docket in 07-MC-00005-CVE reveals that Derrington docketed another
extension letter naming O'Reilly, by Woodward as USA for the NDOK, on January

28, 2011. See Exhibit 27, p.7(Doc. 103). Docket 103 in 07-MC-00005-CVE is

the January 4, 2011 extension letter attached herein as Exhibit 19. It is
this extension letter that shows O'Reilly's appointment as an SAUSA for the

NDOK terminated on January 5, 2012 unless extended.
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On January 10, 2012, Joseph Wilson ("Wilson") dockets in 07-MC-00005-CVE
a letter dated January 10, 2012 by Woodward purporting to extend O'Reilly's

January 5, 2009 appointment for another year. See Exhibit 27, p.8(Doc. 125).

See also Exhibit 20(the January 10, 2012 letter). However, the January 4,

2011 extension says it expires on January 5, 2012("Your appointment...is hereby

extended effective the date of this letter, not to exceed January 5, 2012.").
Remember on October 24, 2013 that O'Reilly listed Williams as a person

who extended his January 5, 2009 appointment on December 19, 2012. See Exhibit

26, p.2. Well, that letter does not get docketed in 07-MC-00005-CVE until

December 28, 2012. See Exhibit 27, p.9(Doc. 153).

On January 3, 2014, Williams signs a letter of extension for O'Reilly as
an SAUSA for the NDOK and is docketed on the same day by Wilson in 07-MC-00005-

CVE. See Exhibit 27, p. 10(Doc. 186). The January 3, 2014 extension letter is

attached herein at Exhibit 31. The January 3, 2014 letter from Williams says
the extension is not to exceed "January 5, 2015" and "is subject to the condit-
ions set forth in the original appointment letter." Id. The docket reflects
in 07-MC-00005-CVE that O'Reilly received no such extension letter on or before

January 5, 2015. See Exhibit 27, p.13-14.

However, Ms. Richardson declared under the penalty of perjury on July 30,
2015, that O'Reilly "was appointed by the U.S. Attorney for the NDOK for a

limited purpose not to exceed January 5, 2016." See Exhibit 23, p.4. What is

even more interesting is that neither Ms. Richardson nor EOUSA were made aware
by the USAO/NDOK of 07-MC-00005-CVE or the records filed therein relevant to
appointments to office,

Then, on January 12, 2016, Wilson dockets in 07-MC-00005-CVE a letter
extending until January 5, 2017, O'Reilly's SAUSA appointment(that was expired

on January 5, 2012, or January 5, 2015). See Exhibit 27, p. 15(Doc. 290). The
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January 5, 2016 extension letter by Williams is actually docketed on January
12, 2016 and is attached herein as Exhibit 32. This extension, without add-
ressing that the January 3, 2014 extension, good through January 5, 2015, had
expired. Again, this letter reads "You appointment...is hereby extended eff-
ective the date of this letter, not to exceed January 5, 2017." Id.

On December 21, 2016, Williams again extended O'Reilly's expired term

until January 5, 2018. See Exhibit 27, p.17(Doc. 343). The December 21, 2016

extension letter by Williams is attached herein as Exhibit 33. This letter
extends O'Reilly's January 5, 2009 appointment ("Your appointment...is hereby
extended effective the date of this letter, not to exceedJanuary 5, 2018")
until January 5, 2018-.and is subject to the same "conditions set forth in the
original appointment letter." Id.

On January 3, 2018, R. Trent Shores ("Shores") issues another letter
extending O'Reilly's January 5, 2009 appointment for 2-years, not 1, and is to

expire on or before January 5, 2020. See Exhibit 27, p.19(Doc. 391). This let-

ter was docketed in 07-MC-00005-CVE on January 3, 2018 by Wilson. The January
3, 2018 extension letter by Shores is attached herein as Exhibit 34.

On March 26, 2018, Shores issued another extension letter for O'Reilly
extending the January 5, 2009 appointment "not to exceed January 2, 2020."

See Exhibit 27, p.20(Doc. 423). This letter was docketed in 07-MC-00005-CVE

on April 2, 2018 and is attached herein as Exhibit 35. If there is any doubt
that all of the extensions are referring back to the January 5, 2009 appoint-—
ment letter by O'Meilia, Shores' March 26, 2018 letter clearly says "[T]his
extension is subject to the conditions set forth in the original appointment
letter under 28 U.S.C. § 543 dated January 5, 2009." Id. This letter was
docketed 8 days before O'Reilly filed his response regarding Springer's App-

lication for Fraud on the Court in 09-CR-043(Doc. 641).
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In a letter dated July 21, 2015,.and just 3 days before Ms. Richardson
located in the USAO-NDOK the January 5, 2009 oath of office for O'Reilly as
a SAUSA for the NDOK, the Tax Division's Carmen Banerjee wrote to Springer in
response to Springer's FOIA request naming O'Reilly seeking appointment records
between 2008 through 2015 and reported she could only locate two records with
O'Reilly's name. Ms. Banerjee provided an oath of office O'Reilly signed on
November 15, 1992.as a "Law Clerk," and a Notification of Personnel Action
naming O'Reilly as a Trial Attorney under 5 CFR 213. 2103(d). See Exhibit 36

O'Reilly's Law Clerk oath of office states his employment is in Washington,

D.C., See Exhibit 36, p.3. O'Reilly has never taken an oath of office as a

Trial Attorney in the Tax Division.

O'Reilly declared to this Court in his April 10, 2018 filing that the
reason his appointment letters were not accessable by EOUSA or the United
States Attorneys for which it covers, was that:

"EOUSA would not have [O'Reilly's] personnel records because [O'Reilly]

works for the Department of Justice, Tax Division, which is not under

the auspices of EOUSA."

See Exhibit 24, p.4-5(Doc. 641 in 09-CR-043)

O'Reilly's January 5, 2009 oath of office, found in some secret place
by Ms. Richardson on July 23, 2015, just 2 days after Ms. Banerjee reported
to Springer only the November 15, 1992 oath of office as a Law Clerk, has
never been filed in 07-MC-00005-CVE, either with the January 5, 2009 appoint-
‘ment letter from O'Meilia (which required it be taken), or indpendently as
Woodward filed on March 5, 2010 his September 23, 1990 oath of office as an
AUSA for the NDOK in 07-MC-00005-CVE. The docket in 07-MC-00005-CVE also
shows all 28 U.S.C. § 515 letters are required to be filed therein but not
O'Reilly's December 23, 2008 letter from Mr. Cimino.

Again, O'Reilly January 5, 2009 oath of office declares O'Reilly is an
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employee in Tulsa, Oklahoma. See Exhibit 17,.p.3.

After EOUSA provided the January 5, 2009 oath of office, and after
O'Reilly provided the January 5, 2009 and January 4, 2010 letters naming him
as an SAUSA in the NDOK, and then extended, Springer sent another FOIA to
EOUSA asking for appointment records naming O'Reilly and on September 6, 2018,
EOUSA again informed Springer they have no access to any such records refering
Springer to Ms. Banerjee in the Tax Division. See Exhibit 37.

On October 29, 2019, O'Reilly filed response opposing Springer's request
for release under the First Step Act signing as a current and properly app-
ointed SAUSA for the NDOK.

ARGUMENT WITH THESE FACTS
1. O'Reilly has no current appointment as an SAUSA for the NDOK, has taken
no oath of office for an SAUSA in the NDOK since his expired on January

5, 2012, or January 5, 2015, and has never received a commission from
the President to the office of SAUSA for the NDOK.

O'Reilly has no political accountability. He is not appointed to office
by anyone who has such accountability or even may know he is acting as an
officer of the United States.

O'Reilly's current appointment extension by Shores, dated January 3, 2018,
or March 26, 2018, is invalid, unlawful, and unconstitutional, and O'Reilly
has no Presidential Commission to the office for which he claims to hold app-
ointment, and has no current oath of office for the office of SAUSA in the
NDOK he currently represents to this Court he holds.

(a) O'Reilly has never been commissioned by any President to the office
of SAUSA for the NDOK.

The Constitution at Article II, § 3, requires the President commission
all officers of the United States, including O'Reilly (if he is appointed).

See Marbury v. Madison, 1 Cranch 137, 156-57(1803); See also DOT v. Ass'n

of Am. RR, 135 S.Ct. 1225, 1235(2015) (Justice Alito Concurring) (a Commission
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is not a "mere wall ornament" and that explaining the commission sets apart
a person from "ordinary citizens").

O'Reilly has never received any commission from President Trump, or any
other President, to the office of SAUSA for the NDOK.

(b) O'Reilly has never been commissioned by any President to the office
of Trial Attorney for the Tax Division.

The same Constitution at Article II, § 3, requires the President to comm
ission all officers of the United States, including O'Reilly as a Trial Attor-
ney in the Tax Division. Marbury, supra; DOT, supra.

O'Reilly has never received any commission from President Trump, or any
other President, to the office of Trial Attorney for the Tax Division.

(c) O'Reilly's January 5, 2009 oath of office expired on January 5, 2012,

or again on January 5, 2015, and he never took an oath of office as
a Trial Attorney for the Tax Division.

O'Reilly's January 5, 2009 oath of office, required as a condition of his
January 5, 2009 appointment, was required by Article VI, Cl. 3 of the Constit-
ution, and 28 U.S.C. § 544. The docket in 07-MC-00005-CVE shows the January
5, 2009 oath of office naming O'Reilly was never filed with the January 5,
2009 appointment letter, or at any time after its filing on January 16, 2009.
The oath is a requirement of appointment to office. See Marbury, supra; DOT,
supra(the "oath and commission" are not "mere wall ornaments" and are required

by those "who exercise the power of Government and set apart from ordinary
citizens.")(Alito, J., concurring).

28 U.S.C. § 544 requires all SAUSAs to take the oath of office before
taking office as an SAUSA. To the extent there is any claim of overlap, 5
U.S.C. § 2903 requires all excepted service attorneys, protected from removal
by the Merits System Protection Board, to take the oath of office in terms

described in 5 U.S.C. § 3331.
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Measuring O'Reilly's appointment as an SAUSA, as has O'Meilia, Woodward,
Williams, Shores, and O'Reilly, on January 5, 2009, the terms of that appoint-
ment require the appointment expire unless extended by the date of expiration.
See Exhibit 21("The appointment expires on January 5, 2010, unless extended.");
See Exhibit 25("Your appointment....is hereby extended effective the date of
this letter[dated January 4, 2010], not to exceed January 5, 2011."'); See
Exhibit 19("Your appointment..... is hereby extended effective the date of this
letter, not to exceed January 5, 2012.").

Though the January 4, 2011 extension, Exhibit 19, continues the language
measuring the extension from "the date of this letter," the January 10, 2012
letter by Woodward to O'Reilly does not reference its measuring date from the
date of the January 10, 2012 letter. See Exhibit 20("Your appointment is
hereby extended. This extension is subject to the conditions set forth in the
original appointment letter. You will serve under this appointment for an
additional period not to exceed January 5, 2013, unless extended.").

As this Court can see, the January 10, 2012 letter from Woodward is in
terms different than all other letters and never references the "date of this
letter" and for good reason. January 10, 2012 was 5 days outside of the Janu-
ary 5, 2012 date set by Woodward on January 4, 2011.

On January 10, 2012, O'Reilly had no appointment originating on January
5, 2009 that was extendable. The January 5, 2009 appointment, as extended by
letter dated January 4, 2010, and January 4, 2011, expired on January 5, 2012.

As a result, O'Reilly's oath of office, if even valid at all, would have
expired when his January 5, 2009 appointment expired on January 5, 2012.

Equally compelling is that at no time has O'Reilly ever taken any oath
of office as a Trial Attorney for the Tax Division.

Additionally, even if O'Reilly's oath dated Janaury 5, 2009 survived
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January 5, 2012, and it did not, O'Reilly's January 3, 2014 purported extens-
ion clearly says it expires on January 5, 2015. O'Reilly received no extens-
ion on or before January 5, 2015.

O'Reilly never took an oath as a Trial Attorney, most likely did not take
any oath on or near the January 5, 2009 appointment letter date as it was never
filed in 07-MC-00005-CVE with the appointment letter or later, and even if the
oath was somehow acceptable, it would have expired on January 5, 2012, and
again on January 5, 2015, when O'Reilly's January 5, 2009 appointment was not
extended by the clearly marked expiration date.

(a) O'Reilly's January 5, 2009 appointment expired on January 5, 2012, or

again on January 5, 2015, when his January 5, 2009 appointment was not
extended under the conditions of the appointment and the January 4,

2011 extension by Woodward, or the January 3, 2014 extension by
Williams.

O'Reilly's January 5, 2009 appointment clearly expired on January 5, 2010
"unless extended." See Exhibit 17. Clearly, Woodward extended that appointment
term for 1-year on January 4, 2010. See Exhibit 18. In turn, Woodward extended
O'Reilly's term on January 4, 2011. See Exhibit 19. Woodward set a self imposed
expiration date of the extended appointment of January 5, 2012. Id.

Woodward clearly knew the appointment had expired under his conditions,
and so did O'Reilly, and that is why O'Reilly has resisted Springer in obtain-
ing his appointment records. There is no better evidence than Woodward's re-
working the language of the January 10, 2012 letter without mentioning the
phrase "date of this letter." See Exhibit 20.

This renders O'Reilly's January 5, 2009 appointment by O'Meilia "expired"
on January 5, 2012.

Then there is the January 3, 2014 extension letter by Williams which fixes
‘another expiration date, although completely erroneous, of January 5, 2015. See

Exhibit 31. The next extension letter filed by Williams in 07-MC-00005-CVE is
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dated January 5, 2016. See Exhibit 32. Obviously, like January 10, 2012
falling after January 5, 2012, January 5, 2016 is one year after January 5,
2015, imposed by Williams in his January 3, 2014 extension letter.

Even if O'Reilly's appointment on January 5, 2009 survives the "condit-
ion" that "[YJou will report to an act under the direction of David E. O'Mei-

lia with regard to any matters handled," See Exhibit 17, p.1, which was

impossible after June 28, 2009 when O'Meilia resigned, See Exhibit 24, p.6,

and even if he needs no oath of office or Presidential Commission, his Jan-

uary 4, 2011 one year extension expired on January 5, 2012 when the January

5, 2009 appointment was not extended for another year within the time set by
Woodward.

And if somehow O'Reilly's not-extended on January 5, 2012 appointment
survives that expiration, Williams' January 3, 2014 set the extended term to
expire on January 5, 2015, which was not extended on or before that date.

(e) O'Reilly's January 3, 2018 letter from Shores, or his March 26,

2018 revised extension letter from Shores, are invalid and void
where O'Reilly had no January 5, 2009 appointment to extend due

to the extension expiring on January 5, 2012, and again on January
5,. 2015.

On January 3, 2018, Shores purports to extend O'Reilly's January 5, 2009
appointment from O'Meilia when there was no unexpired appointment subject to
extension. As explained above, O'Reilly did not receive an extension on or
before January 5, 2012, and again on January 5, 2015. In both instances, the
January 5, 2009 appointment expired rendering it no longer extendable accord-
ing to the conditions of the January 5, 2009 appointment letter.

Shores' January 3, 2018 letter clearly intends to extend the January 5,
2009 expired appointment through January 5, 2020 and is not a new appointment.
See Exhibit 34("Your appointment...is hereby extended effective the date of

this letter, not to exceed January 5, 2020. This extension is subject to the
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conditions set forth in the original appointment letter.")

The March 26, 2018 revised letter to O'Reilly, from Shores, expands the
intention of the extension. See Exhibit 35("You appointment....is hereby
extended effective January 3, 2018, not to exceed January 2, 2020. This exte-
nsion is subject to the conditions set forth in the original appointment letter
under 28 U.S.C. § 543 dated January 5, 2009.")

But there was no unexpired January 5, 2009 appointment under § 543 that
remained subject to extension after January 5, 2012, and again on January 5,
2015. This renders O'Reilly's current appointment extension unlawful, void,
and invalid.

O'Reilly currently, and since at least January 5, 2012, and again on
January 5, 2015, has not held a valid appointment under 28 U.S.c. § 543.

(£) The October 29, 2019 filing by O'Reilly should be struck and inval-
idated as unauthorized by law and the Constitution.

Federal Rules of Criminal Procedures ("FRCrP") Rule 1(b) defines an
attorney for the government as the United States Attorney personally or an
"authorized assistant." In a criminal case like this one, the government must

be represented by a "properly appointed assistant." U.S. v. Singleton, 165 F.3d

1297, 1299-1300(10th Cir. 199)(en banc)(citing U.S. v. Providence Journal Con,

485 U.S. 693, 699-708(1988) )

O'Reilly is not a properly appointed or authorized attorney for the gover-
nment and this Court should strike from the record his October 29, 2019 respo-
nse.

The Supreme Court has explained the Court's Constitutional duty to "look
behind the names that symbolize the parties to determine whether a justiciable

case or controversy is presented." Providence Journal Co., 485 U.S. at 708(n.11).

(quoting U.S. v. ICC, 337 U.S. 426, 430(1949)).

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The appointment is required by Article II, § 2, Cl.2. The Presidential
Commission is required by Article II, § 3. The oath is required by Article
VI, Cl. 3. See DOT, 135 S.Ct. at 1235. "Officers of the United States" does

not include all employees of the United States. Buckley v. Valeo, 424 U.S.

1, 126 (n.162)(1976). "All officers of the United States are to be appointed
in accordance with the clause...No class or type of officer is excluded because
of its special function." Id. at 132

All officers "must, therefore, be appointed in the manner prescribed by
§ 2, Cl. 2 of [Article II[." Id. at 126. "[u]nless the method [Congress] pro-
vides comports with [the Constitution], the holders of those offices will not

be "officers of the United States." Freytag v. CIR, 501 U.S. 868, 883(1991).

The Constitution forbids "Congress to grant the appointment power to
inappropriate members of the Executive branch," Freytag, 501 U.S. at 886, and

"restricts it to specific public officials." Bandimere v. SEC, 844 F.3d 1168,

1172-73(10th Cir. 2016). The "structural interests protected by the Appoint-
ments Clause are not those of any one branch of Government but of the entire
Republic." Freytag, 501 U.S. at 880; Bandimere, 844 F.3d at 1186.

"Neither Congress nor the Executive can agree to waive this structural
Protection." Id.(cting Freytag, 501 U.S. at 880. The Constitutional duties
are non-delegatable.

It must always be remembered that "manipulation of official appointments"
has "long been one of the American revolutionary generations greatest griev-
ances against executive power" because "the power of appointment of office
was deemed 'the most insidious and powerful weapons of Eighteenth century

despotism." Freytag, 501 U.S. at 883(quoting Buckley, 424 U.S. at 143).
"Those who framed our Constitution addressed these concerns by carefully

husbanding the appointment power to limit its diffusion." Freytag, 501 U.S.
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at 883. "[t]he framers' determination to limit the distribution of the pow-
er of appointment" was clear. Id. at 884. The point of limiting the appoint-
ment power was to "ensure that those who wielded it was accountable to polit-
ical force and the will of the people." Id. See also Bandimere, 844 F.3d at
1173. The "Appointments Clause embodies both separation of powers and checks
and balances."" Id. at 1172.

"The Appointments Clause also promotes public accountability by identify-
ing the public officials who appoint officers." Id.

Without O'Reilly being properly appointed to the office of SAUSA, he
is prohibited by Congress from representing the United States of America in
these First Step Act proceedings within this Criminal Case.

This Court should enter an order finding O'Reilly is not properly appoi-
nted to the office of SAUSA for the NDOK and is not authorized to file or sign
anything for the party United States of America in this case. He has no Pres-
idential Commission nor has he taken an oath of office to support and defend
the Constitution of these United States of America.

CONCLUSION

Based upon the above and the evidence attached herein, along with this
Court's memory of these proceedings, Springer respectfully requests this Court
to strike O'Reilly's October 29, 2019 filing in these proceedings as invalid
and void for not being signed by a person authorized to represent the United
States of America.

Res ully Submitted, ‘

NOSE \ADnuse,
Reg] 025804063 jf OD
F al Transfer Center
P.O. Box 889801
Oklahoma City, Oklahoma 73189

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Case 4:09-cr-00043-SPF Document 675 Filed in USDC ND/OK on 11/18/19 Page 20 of 60

CERTIFICATE OF SERVICE
I hereby certify that on November 13, 2019, I sent by U.S. Mail, First
Class, Postage Prepaid, the above Motion and Exhibits to the Clerk of Court at
333 West Fourth Street, Tulsa, Oklahom 74103;
I further certify that the following person is a registered ECF user and
shall receive service of the above Motion through the Court's ECF system:

Charles A. O'Reilly

DECLARATION OF MAILING
I declare under the penalty of perjury pursuant to 28 U.S.C. § 1746(1),
under the laws of the United States of America, that on November [3, 2019,
I deposited the above Motion and Exhibits with Prison Officials at the Federal
Transfer Center placed in the U.S. Mailbox located therein addressed to the

Clerk of Court at the address listed above.

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EXHIBIT

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U.S. Department of Justice
THOMAS SCOTT WOODWARD

United States Attorney
Northern District of Oklahoma

110 West Seventh Street, Suite 300 (918) 382-2700
Tulsa, Oklahoma 74119 Fax (918) 560-7938

January 4, 2011

Charles A. O’Reilly, Trial Attorney
Department of Justice, Tax Division
601 D Street, N.W., Suite 7032
Washington, DC 20530

RE: SAUSA Extension Paperwork

Dear Mr. O'Reilly:

Your appointment as a Special Assistant United States Attorney for the Northern
District of Oklahoma is hereby extended effective the date of this letter, not to exceed
January 5, 2012. This extension is subject to the conditions set forth in the original
appointment letter. You will continue to serve without compensation. No additional
appointment Papers are necessary.

Sincerely,

Spe dhael.

Thomas Scott Woodward
United States Attorney
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EXHIBIT

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U.S. Department of Justice

THOMAS SCOTT WOODWARD
United States Attorney
Northern District of Oklahoma

110 West Seventh Street, Suite 300 (918) 382-2700
Tulsa, Oklahoma 74119 Fax (918) 560-7938
January 10, 2012

Charles A. O’ Reilly
Department of Justice

Tax Division

601 D Street, N.W., Suite 7032
Washington, DC 20530

Dear Mr. OReilly: — a — —

Your appointment as a Special Assistant United States Attorney for the Northern
District of Oklahoma is hereby extended. This extension is subject to the conditions set forth
in the original appointment letter. You will serve under this appointment for an additional
period not to exceed January 5, 2013, unless extended. You will continue to serve without

compensation other than that which you are now receiving under your existing appointment..
No additional appointment papers are necessary.

Sincerely,

a

THOMAS SCOTT WOODWARD
UNITED STATES ATTORNEY
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EXHIBIT

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U.S. Department of Justice

DAVID E. O’MEILIA
United States Attorney
Northern District of Oklahoma

1f0 West Seventh Street, Suite 300 (918) 382-2700
Tulsa, Oklahoma 74119 Fax (918) 560-7938
January 5, 2009

Charles A. O’Reilly, Trial Attorney
Department of Justice, Tax Division
601 D Street, N.W., Suite 7032
Washington, DC 20530

RE:

SAUSA Appointment Paperwork

as a Special Assistant United States Attorney for the Northern District of Oklahoma, subject
to the following conditions:

IL

2.

You are appointed to assist the Office with a DOJ Tax Investigation.
The appointment expires on January 5, 2010 unless extended.

You will report to and act under the direction of David E. O’Meilia with regard
to any matters handled.

You understand and agree to serve without compensation other than that which
you are now. receiving under your existing appointment.

This appointment may be terminated at any time without cause or notice.
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January 5,200"
Page 2

6. You must execute and return to the Personnel Staff within 14 days the enclosed
Appointment Affidavit containing the oath of office, Statement of Appointment
Conditions, and a signed copy of this letter. Your signature in the space provided
below acknowledges your agreement to the terms and conditions of this

appointment.

Sincerely,

DAVID E. O’MEILIA
UNITED STATES ATTORNEY

Enclosures

The foregoing terms and conditions are hereby agreed to and accepted:

= Men ta), ZEIO 7

Charles A. GRaly yr" Date

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EXHIBIT

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Case 4:09-cr-00043-SPF_ Document 675 Filed in USDC ND/OK on 11/18/19 Page 29 of 60
U.S. Department of Justice
Executive Office for United States Attorneys
Freedom of (Information & Privacy Staff
600 E Street, NV.
Sage A309: Bicessanmial Building
Westingron, DC 20530-0001

(202) 252-6020 FAX: 252-6047 _(www.usdoj.gov/usao)

July 29, 2015

Lindsey Springer
#02580-063
FSL, P.O. Box 6000

Anthony, New Mexico 88021

Re: Request Number: FOIA-2015-01085

Date of Receipt: January 9, 2015

Subject of Request: AUSA Appointments - USAO Northern District of Oklahoma
IN LITIGATION

Dear Ms. Springer:

Your request for records under the Freedom of Information Act was received some
months ago.

This letter constitutes a supplemental reply from the Executive Office for United States
Attorneys, the official record keeper for all records located in this office and the various United
States Attorney’s offices. One page is being released in part pursuant to exemption b(6) of the
Freedom of Information Act.

Sincerely,

Susan B. Gerson
3 Assistant Directér

Enclosure(s)

Form No. 0021B ~ 4/11
Case 4:09-cr-00043-SPF Document 675 Filed in USDC ND/OK on 11/18/19 Page 30 of 60

«

APPOINTMENT AFFIDAVITS

SPECIAL ASSISTANT UNITED STATES ATTORNEY 1/08/2009

(Position to which Appointec) (Date Appointed}

DEPT. OF JUSTICE USAQ/ND-OK TULSA, OKLAHOMA
(Gapartmant or Ageacy) (Aureau.or Division) {Place of Employinent)
i, CHARLES ANTHONY O'REILLY j do solemnly swear for affirm) that

A. OATH OF OFFICE

| will support and defend the Constitution of the United States against all enemies, foreign and domestic;
that { will bear true faith and allegiance te the same; that | take this obligation freely, without any mental
reservation or purpose of evasion: and that { will well and faithfully discharge the duties of the office on which
iam about fo enter. So halp me Gad.

B. AFFIDAVIT AS TO STRIKING AGAINST THE FEDERAL GOVERNMENT

_ tam not participating in any strike against the Goverment of the United States or any agency thereof,
and | will not so participate while an employes of the Government of the United States or any agency
thereat.

C. AFFIDAVIT AS TO THE PURCHASE AND SALE OF OFFICE

} have not, aor has anyone acting in my behalf, given, transferred, promised or paid.any consideration
for or in expectation or hope of receiving assistance in securing this appointment.

(B)(6)
(Signature cf Appointee
Subscribed and sworn (or affirmed) before me ‘this Sthi day af JANUARY , 2009
ot LULSA ‘OKLAHOMA
Cit (State} DAL he
(City) ‘sy ~ “fy 3 i 2i,
1 eee Lee A
(S EAL) (Signature of Officer}
Commission expires Administrative Services Specialist
Nf by a Rotary Public, the date of his/her Commission should be shown) (Title)

Note - ifthe appoiniee objects to the form of the oath on religious grounds, certain modifications may be permitted pursuart to ine
Religious Freedom Restoration Act. Please contact your agency's legal counse? far advice.

Standart Farm 64
US. Office of Personnel Managament Revised August 2002
The Guide to Processihy Personnel Actions NSN 7546-00-634-4015 Previous editions not usable
(b) (1)

(b)(2)

(b)(3)

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(b)(8)

(b)(9)

(d)(5)

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(KC)

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(K)(3)

(k)(4)

(k)(5)

(k)(6)

(k)(7)

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EXPLANATION OF EXEMPTIONS

“FOLA: TITLE 5, UNITED ST APES RARREYSECTION 552

(A) specifically authorized under criteria established by and Executive order to be kept secret in the in the interest of national
defense or foreign policy and (B) are in fact properly classified pursuant to such Executive order,

related solely to the internal personnel rules and practices of an agency,

specifically exempted from disclosure by statute (other than section 552b of this title), provided that such statute (A) requires
that the matters be withheld from the public: in such a manner as to leave no discretion on the issue, or (B) establishes
particular criteria for withholding or refers to particular types of matters to be withheld;

trade secrets and commercial or financial information obtained from a person and privileged or confidential:

inter-agency or intra-agency memorandums or letters which would not be available by law to a party other than an agency in
litigation with the agency;

personnel and medical files and similar files the disclosure of which would constitute a clearly unwarranted invasion of
personal privacy;

records or information compiled for law enforcement purposes, but only the extent that the production of such law
enforcement records or information (A) could reasonably be expected to interfere with enforcement proceedings, (B) would
deprive a person of a right to a fair trial or an impartial adjudication, (C) could reasonably be expected to constitute an
unwarranted invasion of personal privacy, (D) could reasonably be expected to disclose the identity of a confidential source,
(E) would disclose techniques and procedures for law enforcement investigations or prosecutions, or would disclose guidelines
for law enforcement investigations or prosecutions if such disclosure could reasonably be expected to risk circumvention of
the law, or (F) could reasonably be expected to endanger the life or physical safety of any individual.

contained in or related to examination, operating, or condition reports prepared by, on behalf of, or for the use of an agency
responsible for the regulation or supervision of financial institutions; or

geological and geophysical information and data, including maps, concerning wells.

PRIVACY ACT: TITLE 5, UNITED STATES CODE, SECTION 552a

information complied in reasonable anticipation of a civil action proceeding;

material reporting investigative efforts pertaining to the enforcement of criminal law including efforts to prevent, control, or
reduce crime or apprehend criminals;

information which is currently and properly classified pursuant to Executive Order 12356 in the interest of the national defense
or foreign policy, for example, information involving intelligence sources or methods;

investigatory material complied for law enforcement purposes, other than criminal, which did not result in loss of a right,
benefit or privilege under Federal programs, or which would identify a source who furnished information pursuant to a
promise that his/her identity would be held in confidence;

4

_material maintained in connection with providing protective services to the President of the United States or any other

individual pursuant to the authority of Title 18, United States Code, Section 3056:

required by statute to be maintained and used solely as statistical records; ¢

investigatory material compiled solely for the purpose of determining suitability eligibility, or qualification for Federal civilian
employment or for access to classified information, the disclosure of which would reveal the identity of the person who

furnished information pursuant to a promise that his identity would be held in confidence;

testing or examination material used to determine individual qualifications for appointment or promotion in Federal
Government service the release of which would compromise the testing or examination process;

material used to determine potential for promotion in the armed services, the disclosure of which would reveal the identity of
the person who furnished the material pursuant to a promise that his identity would be held in confidence.

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Case 4:09-cr-00043-SPF Document 675 Filed in USDC ND/OK on 11/18/19 Page 32 of 60

EXHIBIT

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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

(1) LINDSEY KENT SPRINGER,

Plaintiff,

VS. Case No. 15-CV-142-JED-FHM

(1) UNITED STATES ATTORNEY FOR
THE NORTHERN DISTRICT OF
OKLAHOMA, Danny C. Williams, Sr.,
Officially;

(2) UNITED STATES DEP’T OF JUSTICE,
Eric D. Holder, Jr., Officially;

(3) EXECUTIVE OFFICE OF UNITED
STATES ATTORNEYS, Susan B.
Gerson, Officially;

(4) OFFICE OF INFORMATION POLICY,
Sean R. O'Neill, Officially;

(5) DIVISION COUNSEL FOR FOIA AND
PA MATTERS, Carmen M. Banerjee,
Officially,

Nee ee ee es ee ee ee ee ee Ee Se eS

Defendants.

DECLARATION OF LINDA M. RICHARDSON

I, Linda M. Richardson, declare as follows:

1; J am currently an Administrative Services Assistant for the Department of Justice,
Executive Office of U.S. Attorneys.

2. In this capacity, I serve as a liaison to the FOIA/PA staff for the Executive Office
for United States Attorneys (“EOUSA”) located in Washington, D.C. EOUSA FOIA/PA staff,
in accordance with 28 C.F.R. § 16.3, processes and responds to FOIA/PA requests for all 94
United States Attorney’s Offices (“USAO”).

3. My duties include receiving and reviewing requests made pursuant to FOIA, 5

U.S.C. § 552, and the PA, 5 U.S.C. § 552a, for records maintained by or located in the Electronic

Exhibit 2

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Official Personnel Folders (eOPF) system. I am also responsible for conducting searches for
records located in Personnel that are responsive to FOJA/PA requests.

4, The statements I make in this declaration are made on the basis of my personal
knowledge, review of the official files and records of the EOUSA, and knowledge acquired by
me through the performance of my official duties.

5. I am familiar with the procedures followed by EOUSA in conducting searches for
records responsive to FOJA/PA requests. Also, I am familiar with the FOIA requests submitted
by plaintiff, Lindsey Kent Spencer, (hereinafter referred to as “plaintiff”) that were assigned
FOIA Request Nos. 2015-01085, 2014-00473, and 2014-00169.

6. The purpose of this declaration is to provide the Court with information regarding
my efforts to respond to plaintiff's FOIA requests. This declaration consists of: (1) relevant
correspondence related to plaintiff's FOIA request; and (2) an explanation of the search for
records responsive to the plaintiffs request.

I. CORRESPONDENCE

1s On January 9, 2015, I received by email from EOUSA a copy of FOIA Request
No. 2015-01085 dated December 3], 2014 and January 2, 2015. Plaintiff sought to obtain
information or documentation related to six individuals - Kenneth P. Snoke, Robert D. Metcalfe,
Jeffrey A. Gallant, Charles A. O’Reilly, James C. Strong, and Thomas Scott Woodward.
Specifically, plaintiff wanted information showing the authorization for the above-named
individuals to represent the United States of America during various periods ranging from
January 1, 2007, to January 1, 2015. I respectfully refer the Court to the documents for a true

and accurate statement of the FOIA request contents.

Exhibit 2

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8. On April 23, 2014, ] received by email from EOUSA a copy of FOIA Request
No. 2014-00473 dated October 9, 2013. Plaintiff sought to obtain information and any
documents that pertain to the appointment of Charles A. O’Reilly as a “Special Assistant United
States Attorney” during the period between June 1, 2009, and September 10, 2013. I respectfully
refer the Court to the documents for a true and accurate statement of the FOIA request contents.
9. On February 4, 2014, I received by email from EOUSA a copy of FOIA Request
No. 2014-00169 dated October 9, 2013. Plaintiff sought to obtain “information and any
documents pertaining to the appointment of Thomas Scott Woodward as the United States
Attorney for the Northern Judicial District of Oklahoma.” I respectfully refer the Court to the
documents for a true and accurate statement of the FOIA request contents.

ll. ADEQUACY OF THE SEARCH

10. In order to determine whether responsive records existed for the individuals
identified in FOIA Request Nos. 2015-01085, 2014-00473, and 2014-00169, 1 conducted a
search of the eOPF. The eOPF provides electronic, web-enabled access for all Federal agency
personnel to view and manage employment documents. eOPF includes security measures that
ensure the integrity of the system and employee documents in the system.

11. Additionally, I conducted a search of DOJ’s Microsoft Outlook Office, Globai
Address Book, Global Address Listings (GAL). GAL is a database within the Microsoft
Exchange Server account that contains the names and email addresses, among other things, of
every employee within Dol .

12. The searches produced records that consist of the following:

a. Appointment Affidavits of Thomas Scott Woodward dated May 25, 2010

b. Appointment Affidavits of Jeffrey A. Gallant dated November 17, 2006

Exhibit 2

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13. Initially I was unable to locate any information related to Kenneth P. Snoke,
Robert D. Metcalfe, Charles A. O’Reilly, and James C. Strong. The absence of information in the
eOPF and GAL indicated to me that the individuals were not employed by the USAO/NDOK at
the time of the search.

14. On July 23, 2015, my office contacted USAO/NDOK staff to determine whether
Appointment Affidavits existed for Mr. O’Reilly or any of the other individuals for whom I was
unable to locate information. After searching the records, a staff member from the SAUSA
Program located a copy of Mr. O’Reilly’s Appointment Affidavits. Apparently, Mr. O’Reilly was
appointed by the U.S. Attorney for NDOK for a limited purpose not to exceed January 5, 201 6. |
received a copy of Mr. O’Reilly’s Appointment Affidavits from USAO/NDOK on July 23, 2015
and immediately forwarded a copy to EOUSA/FOIA staff.

15. As previously stated, EOUSA FOIA/PA staff located in Washington, D.C.
review, process and make determinations on all requests for access to records located in the 94
United States Attorney’s offices in accordance with FOIA, PA and the United States Department
of Justice’s regulations. See 28 C.F.R. §§ 16.3 ef seg. and 16.40 ef seq.

16. In accordance with that procedure, on February 4, 2014, I electronically scanned

the records that had been located at that time into the EOUSA FOIA/PA database system for

review by EOQUSA FOIA/PA staff.

17. All systems of records located within eOPF that were likely to contain records
responsive to plaintiff's requests have been searched. The searches were reasonably calculated to
uncover all records responsive to plaintiffs requests.

18. 1 am not aware of any other locations within EOUSA where any other records that

might be responsive to plaintiffs requests are likely to be located. Furthermore, I am not aware

Exhibit 2

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method or means by which a further search could be conducted that would likely

of any other

uncover additional responsive records.
Pursuant to 28 U.S.C. § 1746, I declare under the penalty of perjury that the foregoing is

true and correct, to the best of my knowledge and belief.

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Executed this 2” day of July, 2015. D . A bt
Nunckos Col Vhs &

Linda M. Richardson

Administrative Services Assistant

United States Department of Justice
Executive Office for United StatesAttorneys

Exhibit 2

Case 4:09-cr-00043-SPF Document 675 Filed in USDC ND/OK on 11/18/19 Page 38 of 60

EXHIBIT

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA )
Plaintiff/Respondent

eee Case No. 09-CR-0043-SPF
LINDSEY KENT SPRINGER
Defendant/Movant.

UNITED STATES’ MOTION IN OPPOSITION TO LINDSEY KENT
SPRINGER’S APPLICATION TO SET ASIDE THE JUDGEMENT ENTERED
ON AUGUST 22, 2014 IN SPRINGER’S 28 U.S.C. § 2255 PROCEEDING
BASED UPON TEN FRAUDS UPON THE § 2255 COURT
(DOC. 625, 626 and 627)

The United States of America, by and through its attorneys, R. Trent Shores,
United States Attorney for the Northern District of Oklahoma, Jeffrey Gallant,
Assistant U.S. Attorney, and Charles A. O’Reilly, Special Assistant United States
Attorney, hereby moves to dismiss Mr. Springer’s Application to Set Aside the
Judgment Entered on August 22, 2014 in Springer’s 28 U.S.C § 2255 Proceeding
Based Upon Ten, Frauds Upon the § 2255 Court. Mr. Springer’s latest salvo
demonstrates his desire to waste the Court's and government's time and resources

by making frivolous claims for relief to which he is not entitled.
Case 4:09-cr-00043-SPF Document 675 Filed in USDC ND/OK on 11/18/19 Page 40 of 60

BACKGROUND

The United States incorporates herein by reference the Background section
contained in its April 30, 2014 Response in Opposition to Lindsey Kent Springer’s
Motion for Relief Under 28 U.S.C. § 2255 (Doc. Nos. 472 - 475). Doc. No. 562.

Subsequent to the District Court’s August 22, 2014 judgment rejecting all
grounds for relief presented by Mr. Springer’s motion, Mr. Springer filed a notice of
appeal on September 12, 2014. Doc. No. 588. On February 25, 2015, in denying
Mr. Springer’s attempt to seek a certificate of appealability of the district court’s
dismissal of the Section 2255 habeas petition, the Tenth Circuit stated:

We have thoroughly reviewed the appellate record and Appellant’s

filings on appeal, as well as the applicable legal standards. Having

done so, we conclude that reasonable jurists would not debate the

correctness of the district court’s comprehensive orders disposing of

this case. We accordingly DENY Appellant’s request for a certificate of

appealability and DISMISS the appeal. We DENY Appellant’s motion

to proceed in forma pauperis on appeal. All other pending motions are
likewise DENIED.

By order dated November 29, 2017, this Court dismissed Mr. Springer’s
October 13, 2015 Motion to Enjoin (Doc. No. 604), treating the motion as “a second

or successive petition for habeas relief under 28 U.S.C. § 2255.' In Mr. Springer’s

1 Mr. Springer has also sought relief pursuant to Title 28, United States Code

Section 2241 in the Western District of Texas. That district court, as well as the Fifth
Circuit Court of Appeals, treated this as a successive motion under Section 2255, and found
that Mr. Springer failed to establish that “the remedies provided under § 2255 are
‘inadequate or ineffective to test the legality of his detention.” Springer v. Chapa, 608
Fed.Appx. 258 (Mem) (5'" Cir. 2015).
Case 4:09-cr- -
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instant pleadings, he again asks the Court to set aside its Judgment once again

asserting that the United States has committed frauds upon the Court?

On January 4, 2018, Mr. Springer filed his 3l-page application, accompanied

by a 26 page brief and six-page declaration. Doc. Nos. 625, 626 and 627.

DISCUSSION
Mr. Springer’s most recent attempt to undo his conviction, with the exception
of a Petition for Writ of Certiorari currently before the United States Supreme

Court (see Doc. No. 639), alleges the following “Ten Frauds upon the § 2255 Court”:

(1) Mr. Marella never held the inferior office of DAAGTD;

(2) O'Reilly never received a letter dated December 23, 2008 that
shows O'Reilly received authorization to prosecute Springer
pursuant to 98 U.S.C. § 515(a) and 28 CFR §0.1 3(a);

(3) O'Reilly never received a letter dated January 5, 2009 that
appointed O'Reilly to the Appointments Clause Inferior Office of

SAUSA for the NDOK, for a 1-year term, by O'Meilia;

(4) Congress has not enacted any Federal Statute that directs
USA’s the Constitutional authority to appoint SAUSAs in their
district;
(5) The term of office of an SAUSA is fixed by the term of the
appointing officer terminating O'Reilly's purported term upon
the resignation of his appointing officer

(6) There was no USA for the NDOK, as of January 4, 2010, who
then extended O'Reilly's purported January 5, 2009
appointment from O'Meilia, for a l-year term;

(7) | Woodward never qualified for the Appointments Clause office of
Acting USA for the NDOK beginning June 28, 2009 through
January 21, 2010 pursuant to 28 U.S.C. §542 and 5 U.S.C.

§3345(a) (1);

. Mr. Springer has repeatedly asserted that the attorneys representing the United
States lacked authority, and the Court has repeatedly found Mr. Springer’s “attacks” to be
frivolous. See Doc. Nos. 572, 587 and 612.

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Case 4:09-cr-00043-SPF Document 675 Filed in USDC ND/OK on 11/18/19 Page 42 of 60

(8) O'Reilly never received a letter dated January 4, 2010,
explaining his purported appointment as an SAUSA for the

NDOK;

(9) Woodward never received any appointment from the AG on
January 21, 2010, pursuant to 28 U.S.C. §546(a), as the NDOK
USA for 120 day term; and

(10) Snoke did not hold appointment as a NDOK AUSA between
June 28, 2009 through April 28, 2010.

In support of his motion, Mr. Springer asserts that in response to FOIA
requests, he received various representations from EOUSA indicating that they
were unable to find records responsive to his FOIA requests. These responses
included the following answer to Mr. Springer’s inquiry regarding records related to
Assistant U.S. Attorney Kenneth Snoke: “Please note. There was [sic] no records
located for .. . Kenneth Snoke because they are either no longer employees or were
never employed by EKOUSA.” Defendant/Movant Exhibit 17. The FOIA response is
accurate, given that Mr. Snoke retired from government service in 20103 — he is no
longer an employee of the government, which was part of the response to which
Mr. Springer cites. Mr. Springer also cites to his Exhibit 21, asserting that EOUSA
responded that “SAUSA Charles A. O'Reilly in (sic) no longer an employee.
Therefore, his official personnel file is no longer maintained.” Mr. Springer
misstates EOUSA’s Tsponses, which aetaally provides that “A search for records
located in EOUSA - Personnel has revealed no responsive records regarding the
above subject. It appears that SAUSA Charles A. O'Reilly in no longer an

employee.” Defendant/Movant Exhibit 21 (emphasis added). EOUSA would not have

3 Harper, David, “Prosecutor shaped white-collar fraud law,” Tulsa World, June 6,
2010. Exhibit 1.

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~ the undersigned’s personnel records because the undersigned works for the
Department of Justice, Tax Division, which is not under the auspices of EOUSA.
Each of Mr. Springer’s allegations are both false and irrelevant to Mr. Springer’s

continued incarceration.

With respect to the ten specific allegations of fraud made by Mr. Springer,
John A. Marrella, in his capacity of Deputy Assistant Attorney General, appointed
Charles A. O’Reilly to the investigation and prosecution of Lindsey Kent Springer
and Oscar Amos Stilley in the Northern District of Oklahoma by letter dated

December 23, 2008. Exhibit 2.

By letter dated January 5, 2009, United States Attorney David E. O’Meilia
appointed Charles A. O’Reilly to be a Special Assistant United States Attorney for
the Northern District of Oklahoma pursuant to Title 28, United States Code
Section 543. Exhibit 3. Section 510 of Title 28 authorizes the Attorney General to
delegate appointment powers under Section 543, as “Congress expressly gave the
Attorney general permission to delegate ‘any’ of his functions.” United States v.
Plesinski, 912 F.2d 1003, 1037 (9% Cir. 1990). Furthermore, Trial Attorneys of the
Department of Justice are authorized to represent the United States in any kind of
legal proceeding, including grand jury proceedings, in any judicial district. Title 28,
United States Code Section 515(a) and Title 28, Code of Federal Regulations

Section 0.13(a).

Section 543 of Title 28 provides that “[t]he Attorney General may appoint

attorneys to assist United States attorneys when the public interest so requires

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.... Nothing in the statute provides that the resignation of the officer making the
appointment terminates the appointment. The United States Attorney for the
Northern District of Oklahoma has renewed the appointment of Charles A. O'Reilly
each year following the initial appointment on January 5, 2009. Also, as indicated
above, Trial Attorneys of the Department of Justice are authorized to represent the
United States whether or not they have been appointed to be a Special Assistant

United States Attorney.

Acting United States Attorney Thomas Scott Woodward signed Mr. O’Reilly’s
initial extension appointment on January 4, 2010. Exhibit 4. Contrary to
Mr. Springer’s frivolous assertion, Mr. Woodward qualified for and served as the
Acting United States Attorney, and later United States Attorney, from David
O’Meilia’s resignation on June 28, 2009, until Danny C. Williams, Sr.’s appointment

on August 7, 2012.

Mr. Springer’s assertion that United States Danny C. Williams, Sr.,
Assistant U.S. Attorney Jeffery A. Gallant and the undersigned “fraudulently lied”
to this Court regarding their and others’ authorization to represent the United
States is, as this Court has.previously noted in similar contexts: “frivolous.” By
order dated March 14, 2014, this Court dismissed as procedurally barred
Mr. Springer’s jurisdictional arguments, including his “[c]hallenges to the authority
or jurisdiction of the United States Attorney or any Assistant (or any Acting or

Special Assistant) United States Attorneys involved in this prosecution including
Case 4:09-cr-00043-SPF Document 675 Filed in USDC ND/OK on 11/18/19 Page 45 of 60
!

Mr. Sovingers arguments that without a properly appointed United States Attorney
there can be no properly appointed assistants. Doc. 537.
CONCLUSION

Based upon the foregoing, and the positions articulated in the United States’
prior submissions in response to Mr Springer’s allegations of fraud upon the Court
with respect to his Section 2255 motion, the United States respectfully requests
that this Court deny Mr. Springer’s Application to Set Aside the Judgment Entered
on August 22, 2014 in Springer’s 28 U.S.C § 2255 Proceedings Based upon Ten
Frauds Upon the § 2255 Court.
DATED: April 10, 2018

Respectfully submitted,

R. TRENT SHORES
UNITED STATES ATTORNEY

/s/ Charles A. O'Reilly _
CHARLES A. O’REILLY
California Bar # 160980
Special Assistant United States Attorney

JEFFREY A. GALLANT

Assistant United States Attorney
110 West Seventh Street, Suite 300
Tulsa, Oklahoma 74119

(918) 382-2700

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CERTIFICATE OF SERVICE

I hereby certify that on the 10th day of April 2018, I electronically
transmitted the foregoing document to the Clerk of Court using the ECF System for
filing, and also served the foregoing document by United States Postal mail to:

Lindsey Kent Springer
Defendant

FCI Seagoville

Federal Correctional Institution
P.O. Box 9000

Seagoville, TX 75159

Inmate Number 02580-063.

/s/ Charles A. O’Reilly
Charles A. O’Reilly
Special Assistant United States Attorney

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U.S. Department U_ vustice

Tax Division

Deputy Assistant Auomcy General Washington, D.C. 20530

December 23, 2008

Charles A. O’Reilly, Esquire

Trial Attorney

U.S. Department of Justice

Tax Division

Westem Criminal Enforcement Section
Washington, D.C. 20530

Dear Mr. O’ Reilly:

As an attomey for the United States who is employed full time by the Department of
Justice and assigned to the Tax Division, you are hereby authorized to represent the United States
in any kind of legal proceeding, civil or criminal, including grand jury proceedings and
proceedings before United States Magistrate Judges, in the Northem District of Oklahoma or in
any other judicial district. You are authorized by the Tax Division to conduct such business on
behalf of the United States that United States Attorneys are authorized to conduct, includifig such
matters as filing an information, presenting an indictment, and entering into a plea agreement,
This authority is granted pursuant to 28 U.S.C. § 515(a) and 28 CFR § 0.13(a).

You may file a copy of this letter with the Clerk of the District Court as evidence of your
authorization to represent the United States.

Sincerely,

Det. A Misr / (LOK

HN A, MARRELLA
Deputy Assistant Attorney General

ce: NATHAN J. HOCHMAN
Assistant Attorney General
Tax Division
Case 4:09-cr-00043-SPF Document 675 Filed in USDC ND/OK on 11/18/19 Page 51 of 60
Case 4:09-cr-00043-SPF Document 675 Filed in USDC ND/OK on 11/18/19 Page 52 of 60

U.S. Department of Justice

DAVID E. O’MEILIA
United States Attorney
Northern District of Oklahoma

110 West Seventh Street, Suite 300 (918) 382-2700
Tulsa, OMahoma 74119 Fax (918) 560-7938
January 5, 2009

Charles A. O’Reilly, Trial Attorney
Department of Justice, Tax Division
601 D Street, N.W., Suite 7032
Washington, DC 20530

RE: SAUSA Appointment Paperwork

Dear Mr. O’Reilly:

Pursuant to 28 U.S.C. § 543, effective the date of this letter you are hereby appointed
as a Special Assistant United States Attomey for the Northern District of Oklahoma, subject

to the following conditions:
1. You are appointed to assist the Office with a DOJ Tax Investigation.
2. The appointment expires on January 5, 2010 unless extended.

3. You will report to and act under the direction of David E. O’Meilia with regard
to any matters handled.

4. You understand and agree to serve without compensation other than that which °
you are now receiving under your existing appointment.

9. This appointment may be terminated at any time without cause or notice.
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January 5, 200%
Page 2

6. You must execute and return to the Personnel Staff within 14 days the enclosed
Appointment Affidavit containing the oath of office, Statement of Appointment
Conditions, and a signed copy of this letter. Your signature in the space provided
below acknowledges your agreement to the terms and conditions of this
appointment.

Sincerely,

DAVID E. O’MEILIA
UNITED STATES ATTORNEY

Enclosures

The foregoing terms and conditions are hereby agreed to and accepted:

“—
Cae

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oe Sens 2707
Charles

Date UV

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Case 4:09-cr-00043-SPF Document 675 Filed in USDC ND/OK on 11/18/19 Page 55 of 60

U.S. Department of Justice

THOMAS SCOTT WOODWARD
Acting United States Attorney
Northern District of Oklahoma

110 West Seventh Street, Suite 300

(918) 382-2700
Tulsa, Oklahoma 74119

Fax (918) 560-7938

January 4, 2010

Charles A. O’Reilly, Trial Attomey
Department of J ustice, Tax Division
601 D Street, N.W., Suite 7032
Washington, DC 20530

RE: SAUSA Extension Paperwork

Dear Mr. O’ Reilly:

Your appointment as a Special Assistant United States Attorney for the Northern
District of Oklahoma is hereby extended effective the date of this letter, not to exceed
January 5, 2011. This extension is subject to the conditions set forth in the original

appointment letter, You will continue to serve without compensation. No additional
appointment papers are necessary.

Sincerely,

Thomas Scott Woodward
Acting United States Attorney
Case 4:09-cr-00043-SPF Document 675 Filed in USDC ND/OK on 11/18/19 Page 56 of 60

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U.S. Department of Justice
THOMAS SCOTT WOODWARD

Acting United States Attorney
Northern District of Oklahoma

110 West Seventh Street, Suite 300 (918) 382-2700
Tulsa, Oklahoma 74119 Fax (918) 560-7938
January 4, 2010

Charles A. O’Reilly, Trial Attorney
Department of Justice, Tax Division
601 D Street, N.W., Suite 7032
Washington, DC 20530

RE: SAUSA Extension Paperwork

Dear Mr. O’Reilly:

Your appointment as a Special Assistant United States Attorney for the Northern
District of Oklahoma is hereby extended effective the date of this letter, not to exceed
January 5, 2011. This extension is subject to the conditions set forth in the original
appointment letter. You will continue to serve without compensation. No additional
appointment papers are necessary.

Sincerely,

Thomas Scott Woodward
Acting United States Attorney
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EXHIBIT

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA, )

Plaintiff/Respondent

v. Case No. 09-CR-043-SPF
LINDSEY KENT SPRINGER,

Defendant/Movant.

UNITED STATES’ RESPONSE IN OPPOSITION TO MR. SPRINGER’S
MOTION TO STRIKE (DOCKET NUMBER 522)

The United States of America, by and through its attorneys, Danny C. Williams, .
Sr., United States Attorney for the Northern District of Oklahoma, and Jeffrey Gallant,
Assistant United States Attorney, and Charles A. O’Reilly, Special Assistant United
States OMEY hereby responds | in opposition to Mr. Springer’s fifteen-page Motion to
Strike (Doc. No. 522). The pleading Mr. Springer nie have stricken, the United
States’ Preliminary Response Regarding Lindsey Springer’s Motion for Relief Under 28

U.S.C. §2255 (Doc. Nos. 472 - 475) Concisely Listing Those Grounds For Relief That

Should Be Stricken or Dismissed, is signed by an authorized representative of the United
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States and complies with the Court’s March 15, 2013 Order directing the United States to
file a preliminary response (Doc. No. 478).

With respect to the above-capitioned case, the undersigned represented the United
States of America during the grand jury investigation, at trial, and during Mr. Springer’s
appeal from his conviction. Pursuant to Title 28, United States Code Section 515({a) and
Title 28, Code of Federal Regulations Section 0.13(a), Deputy Assistant Attorney General
John A. Marrella of the United States Department of Justice, Tax Division authorized the
undersigned to represent the United States with respect to this investigation and
prosecution by letter dated December 23, 2008.

@ By letter dated January 5, 2009, United States Attorney David E. O° Meilia
appointed the undersigned as a Special Assistant United States Attorney for the Northern
District of Oklahoma. The wae States Attorneys for the Nicer District of Oklahoma
have extended the undersigned’ s appointment as a Special Assistant United States
Attorney by letters dated January 4, 2010, January 4, 2011, January 10, ae and most
recently by United States Attorney Danny C. Williams, Sr. ina letter dated December 19,
2012. Mr. Springer’s rhetoric does not change the fact that the undersigned has been and

remains authorized to represent the United States of America.
Mr. Springer’s claim that the Government’s Preliminary Response (Doc. No. 518)

does not comply with the Court’s March 15, 2013 Order (Doc. No. 478) is simply wrong.

Mr. Springer states “First, Doc 518 is clearly not signed by an authorized representative
